 1 LANG & KLAIN, P.C.
     8767 E. VIA DE COMMERCIO, SUITE 102
 2   SCOTTSDALE, ARIZONA 85258
     TELEPHONE (480) 947-1911
 3   Please e-servejiliugs on:
     Filing@lang-klain.com
 4
     MICHAEL W. THAL, #023843
 5   mthal@lang-klain.com (not/ore-service)
     LORI A. GUNER, #031646
 6   lguner@lang-klain.com (not for e-service)
 7   Attorneys for Exceptional Floor Covering, Inc.
 8
                             IN THE UNITED STATES BANKRUPTCY COURT
 9
                               IN AND FOR THE DISTRICT OF ARIZONA
10
      In re:                                          Chapter: 7
11
      JEFFERY MILLER and JENNIFER                     Case No. 2:l 7-bk-09097-MCW
12    MILLER, husband and wife;
                                                      Adv. No.: 2:17-ap-00717
13                     Debtors.
14                                                    AFFIDAVIT OF SERVICE OF
                                                      SUMMONS AND COMPLAINT
15
16
17    EXCEPTIONAL FLOOR COVERING,
      INC., an Arizona corporation,
18
                       Plaintiff,
19
               v.
20
      JEFFERY MILLER and JENNIFER
21    MILLER, husband and wife,
22                     Defendants.
23

                                        ~
     STATE OF ARIZONA
24                                          ss.
     COUNTY OF MARICOPA                 )
25
          Clara Wiklanski, being duly sworn upon her oath, deposes and says:
26
          1.        I am employed as a legal assistant by the law firm of Lang & Klain, P .C.,
27
     attorneys for Plaintiff in the above-entitled action, and make this Affidavit upon my own
28


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 1   personal knowledge, having been duly authorized to do so.

 2       2.       On the   13th   day of November, 2017, I caused copies of the Summons and

 3   Complaint to Except Certain Debt from Discharge to be delivered to a qualified process

 4   server at First Legal Network, to be served on the following parties:

 5                                           Jeffery Miliifr
                                           20209 S. 198 St.
 6                                     Queen Creek, Arizona 85142
                                           Defendant/Debtor
 7
                                             Jennifer MiRer
 8                                         20209 S. 198 St.
                                       Queen Creek, Arizona 85142
 9                                         Defendant/Debtor
10       3.       On the 16th day of November, 2017, I received a notification from First Legal

11   Network confirming that a process server for First Legal Network had, on November 15,
12   2017, personally served copies of the Summons and Complaint to Except Certain Debt from
13   Discharge on Defendants Jeffery Miller and Jennifer Miller in person. Copies of the

14   Affidavits of Service by Benjamin J. Zwaschka of First Legal Network are attached hereto as

15   Exhibit 1.                                          ~!  ,n~L/.
                                                         •lkvv   ~
16                                                     Clara Wiklanski
17
18
         Subscribed and sworn to before me by Clara Wiklanski this        J.,1'°"" day of December, 2017.
19                                                          ~~~Vo~
                                                       Notary Pub~
         My Commission Expires:
20
21
                                                                   CASEY LYN DOYLE
                                                                   ~lat!try P&dJllc: • Staled A11zona
22                                                                     MARICOPA COUNTY
                                                                      My Commiaelon Expires
                                                                            June 17, 2021
23
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                                                 -2-
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 1   Copie\ of the foregoing mailed on
     the 27 day of December, 2017 to:
 2
     Jeffery Miller
 3   Jennifer Milli
     20209 S. 198 St.
 4   Queen Creek, Arizona 85142
     Defendants/Judgment Debtors
 5
     Adam Hauf, Esq.
 6   Hauf Law, ~LC
     8102 N. 23r Ave.
 7   Suite E
     Phoenix, Arizona 85021
 8   Attorneys for Defendants/Judgment Debtors
 9   Jill H. Ford
     P.O. Box 5845
10   Carefree, Arizona 85377
     Trustee
11

12
13
     By:   ~ wil</1~
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                                             -3-

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                         Exhibit 1
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